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 8                             IN THE UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11

12    JEFF YOUNG, individually and on behalf of           Civil Action No. 4:17-cv-06252-YGR
      all others similarly situated,
13                                                        AMENDED CLASS ACTION
                     Plaintiff,                           COMPLAINT
14

15            v.                                          JURY TRIAL DEMAND

16    CREE Inc.,
17                   Defendant.
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 1                              AMENDED CLASS ACTION COMPLAINT
 2          Plaintiff Jeff Young files this Amended Class Action Complaint on behalf of himself and all
 3   others similarly situated, by and through his undersigned attorneys, against Defendant Cree, Inc.
 4   (“Defendant” or “Cree”), and alleges as follows upon personal knowledge as to himself and his own
 5   acts and experience and, as to all other matters, upon information and belief based upon, among
 6   other things, investigation conducted by his attorneys.
 7                                        NATURE OF THE CASE
 8          1.      Plaintiff brings this class action individually and on behalf of the Classes defined
 9   below against Defendant to obtain damages and declaratory relief. This class action is brought to
10   remedy violations of law in connection with Cree’s unfair and deceptive practice of, among other
11   things, promising consumers that its LED lightbulbs (the “LED Lightbulbs” or “Lightbulbs”) will
12   last for particularly long periods of time up to 35,000 hours. These longevity representations are
13   prominently made on the principal display panel of the Lightbulbs and are viewed by every
14   consumer at the point of purchase.      In reliance on those representations, consumers paid and
15   continue to pay a premium for the LED Lightbulbs.
16          2.      The front of label representations, which promise longevity for far longer than the
17   Lightbulbs actually last, taken in conjunction with Cree’s marketing scheme, far out-promise the
18   actual life of the Lightbulbs.
19          3.      Furthermore, through a uniform scheme and common course of conduct, Cree
20   markets the LED Lightbulbs on its website, product packaging, marketing literature and through
21   retailers, claiming that “[W]e know people prefer better light, and we believe you should not
22   compromise when it comes to the light in your home. That’s why we designed no compromise, full
23   featured LED bulbs…”
24          4.      Cree’s packaging offers a “100% Satisfaction Guarantee” for LED Bulbs and an
25   estimated lifetime of between 15-32 years depending on the product. The packages further offer an
26   estimated yearly energy cost savings ranging from around $0.60 to $2 per bulb per year. Cree
27   packaging also offers a “10 Year Warranty.”
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 1           5.      Cree’s warranty representations on the website boast, “What’s even better than a
 2   product that claims to be superior? How about standing behind that promise with one of the strongest
 3   warranties in the industry. Cree LED Light bulbs don’t just come with a promise of a better
 4   experience. They come with a 10 year 100% satisfaction guarantee.”
 5           6.      Cree’s marketing efforts are made in order to—and do in fact—induce its customers
 6   to purchase the LED Lightbulbs at a premium because consumers believe the Lightbulbs will last for
 7   far longer than their actual life.
 8           7.      To the detriment of the consumer, Cree’s claims regarding the longevity of the LED
 9   Lightbulbs are false. The LED Lightbulbs do not last nearly as long as advertised.
10           8.      Cree’s customers across the nation have been cheated out of millions of dollars based
11   on false promises, which have caused damages to Plaintiff and the members of the Class. Plaintiff
12   seeks recovery for Defendant’s unfair practices, as well as its Defendant’s breach of warranty, and,
13   alternatively, assumpsit and common counts.
14           9.      Plaintiff and members of the class paid a price premium for the Cree LED bulbs that
15   they would not have paid absent the false marketing representations of Defendant.
16                                        JURISDICTION AND VENUE
17           10.     This is a nationwide class action commenced by Plaintiff on behalf of himself and all
18   others similarly situated members of the Class defined below. This Court has subject matter
19   jurisdiction of this action pursuant to 28 U.S.C. § 1332 of the Class Action Fairness Act of 2005
20   because: (i) there are 100 or more class members, (ii) there is an aggregate amount in controversy
21   exceeding $5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity because at
22   least one plaintiff and defendant are citizens of different states. This Court also has supplemental
23   jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
24           11.     Venue is proper in this judicial district and division pursuant to 28 U.S.C. § 1391
25   because Defendant has advertised in this district and division and received substantial revenues and
26   profits from the sales of the LED Lightbulbs in this district and division, and because a substantial
27   part of the events and/or omissions giving rise to the claims occurred within this district and
28   division.

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 1          12.     This Court has personal jurisdiction over Defendant because it has conducted
 2   substantial business in this judicial district and division, and intentionally and purposefully directed
 3   the LED Lightbulbs into the stream of commerce within the districts of California and throughout
 4   the United States.
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 1                                                  PARTIES
 2          13.     Plaintiff Jeff Young is a resident of Guerneville, in Sonoma County, California.
 3          14.     Defendant Cree is an organization incorporated in North Carolina, with its principal
 4   place of business at 4600 Silicon Drive, Durham, in Durham County, North Carolina. Defendant
 5   transacts or has transacted business in California and within this district, as well as throughout the
 6   United States. At all times material to this Complaint, acting alone or in concert with others,
 7   Defendant has advertised, marketed, distributed, or sold the LED Lightbulbs to consumers
 8   throughout the United States.
 9                                       FACTUAL ALLEGATIONS
10          15.     It used to be that consumers did not have a great many choices with respect to
11   purchasing lightbulbs—60-watt incandescent bulbs were the norm. However, incandescents wasted
12   a lot of energy. Energy-saving compact fluorescent lamps (CFLs) were fluorescent lamps designed
13   to replace incandescent lamps. LED (light emitting diode) bulbs were introduced to the market
14   relatively soon after CLFs and, because they are even more energy-efficient than CLFs, they quickly
15   overtook their market share. Indeed, LED bulbs are now mostly considered as the mainstream light
16   source with the phasing out of traditional incandescents.
17          16.     Incandescent bulbs typically last between 1,000 and 2,000 hours, and CFLs typically
18   last about 10,000 hours. The lifespan for LED replacements is routinely quoted as 25,000 to 50,000
19   hours. Long lifespan, and the reduced power used to create the same amount of light, is what makes
20   this technology so promising and induces consumers to purchase LED Lightbulbs.
21          17.     Many of Cree’s LED bulbs are sold with packaging which indicates that the product
22   comes with a 10 Year Warranty or “100% Satisfaction Guaranteed.” Furthermore, the packages all
23   contain an estimated lifetime use and energy saving, indicating that the products will save consumers
24   money in the long term despite their high purchase price point. These representations signal to the
25   customer that the useful life of the product will be at least 10 years or more.
26          //
27          //
28          //

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 1          18.    Furthermore, Cree packaging boasts that their products have a life of “27+ years” or
 2   more depending on the bulb.
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17           19.     Cree has created an overall marketing scheme that overpromises the longevity of the
18   Lightbulbs. Specifically, the longevity representations (i.e. 27+ years), taken in conjunction with the
19   marketing and advertising of the Lightbulbs detailed herein, signals to the consumer that the bulbs
20   will significantly outlast traditional incandescent bulbs, when it is, in fact, not true.
21           20.     Cree manufactures three categories of LED bulbs: Standard A-Type, Reflector
22   (Flood/Spot), and Specialty. On its website, Cree claims with respect to each type of LED Lightbulb
23   that “the Cree LED bulb is designed to create comfortable living spaces with better colors…
24   [D]esigned to last more than 22 years (25,000 hours)1, the Cree LED bulb is a worry-free choice
25   backed by a 100% performance satisfaction guarantee.”
26

27   1
       Some products, such as the 100 Watt Replacement Standard A-Type bulb, state that they will last
28   for 13 years, or 15,000 hours.

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 1             21.   Defendant manufactures six types of Cree Standard A-Type LED bulbs: a 40 Watt
 2   Replacement, 60 Watt Replacement, Connected 60 Watt Replacement, 75 Watt Replacement, 100
 3   Watt Replacement, and 3-Way Replacement.
 4             22.   Cree’s website and marketing materials claim, with respect to its 100 Watt
 5   Replacement Standard A-Type bulbs that “Unlike some others, Cree doesn’t compromise” and
 6   “Long LED lifetime lasts 13+ years (15,000 hours), up to 3x as long as the cheap LED bulbs.”
 7             23.   Furthermore, Cree claims with respect to its 40/60/75 Watt Standard A-Type LED
 8   bulbs that “Longer LED lifetime lasts 22+ years (25,000 hours), up to 6x as long as the cheap LED
 9   bulbs.”
10             24.   Cree’s website and marketing materials also claim with respect to its Connected 60
11   Watt Replacement bulbs that they feature a “25,000-hour lifetime compared to about 1,000 hours for
12   a typical incandescent.”
13             25.   The Cree Reflector (Flood/Spot) products come in eight variations including: a 75
14   Watt Replacement Flood, a 65 Watt Replacement Flood, 100 Watt Replacement Flood, 85 Watt
15   Replacement Flood, 120 Watt Replacement Flood, 120 Watt Replacement Spot, 75 Watt
16   Replacement Bright Flood, 75 Watt Replacement Bright Spot, Downlight 55 Watt Replacement,
17   Downlight 65 Watt Replacement, and Downlight100 Watt Replacement.
18             26.   All of the Reflector series bulbs advertise a “Longer LED lifetime lasts 22+ years
19   (25,000 hours), up to 6x as long as the cheap LED bulbs.” The only exceptions are the Downlight
20   55/65/100 Watt bulbs which advertise “Longer LED lifetime lasts 32+ years (35,000 hours), up to 6x
21   as long as the cheap LED bulbs.”
22             27.   The Cree LED “Specialty” line comes in two varieties, the 25 Watt Replacement
23   Candelabra and the 40 Watt Replacement Candelabra, both of which advertise “Longer LED lifetime
24   lasts 22+ years (25,000 hours), up to 6x as long as the cheap LED bulbs.”
25             28.   In addition to the claims about longevity, each Cree product makes a claim about an
26   “estimated” cost savings for the purchaser buying the product, which range based on the cost of the
27   product and the advertised lifespan for the LED lights. For example, the 55 Watt Replacement
28   Downlight advertises an estimated savings of $177 per bulb, and a yearly energy cost savings of

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 1   $1.08. The 100 Watt Replacement Standard A-Type bulb advertises a Lifetime savings of $138 with
 2   a yearly average energy cost savings of $1.99. The 40 Watt Replacement Standard A-Type bulb
 3   advertises a lifetime savings of $95 and a yearly energy cost savings of $0.66.
 4          29.     Cree further entices consumers by asserting “When you buy an LED bulb, you expect
 5   it to be in your home for a long time. Cree does too. That’s why Cree designs and tests its bulbs to
 6   last longer, with rated lifetimes equal to or exceeding Energy Star minimum requirements. Most
 7   Cree LED bulbs are rated to last 25,000 hours. So, you’ll be happy to have beautiful Cree LED light
 8   in your home for decades.”
 9                                    Defendant’s Label Misrepresentations
10          30.     Defendant’s misrepresentations within advertisements and marketing include, but are
11   not limited to, the following:
12                 Defendant’s labels advertise that the products have a 13-32+ years useful
                    lifetime.
13

14                 Defendant’s labels indicate that the products have a 10 Year Warranty.

15                 Defendant’s labels indicate that the products carry a 100% Satisfaction
16                  Guarantee.

17                 Defendant’s labels indicate that the products will save consumers hundreds of
                    dollars per bulb of energy costs over the useful lifetime of the product.
18

19                  Defendant’s Advertising and Marketing Misrepresentations

20
                   “Long LED lifetime lasts 13+ years (15,000 hours), up to 3x as long as the
21
                    cheap LED bulbs.”
22
                   “Longer LED lifetime lasts 22+ years (25,000 hours), up to 6x as long as the
23                  cheap LED bulbs”
24
                   “Longer LED lifetime lasts 32+ years (35,000 hours), up to 6x as long as the
25                  cheap LED bulbs.”
26
                   “[D]esigned to last more than 22 years (25,000 hours), the Cree LED bulb is a
27                  worry-free choice backed by a 100% performance satisfaction guarantee The
                    LED general purpose bulbs “last up to 25,000 hours, equal to 25
28                  incandescents.”
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 1                 25,000-hour lifetime compared to about 1,000 hours for a typical
                    incandescent.”
 2

 3                 “Most Cree LED bulbs are rated to last 25,000 hours. So, you’ll be happy to
                    have beautiful Cree LED light in your home for decades.”
 4
            31.     In addition, the various lifetime savings estimations asserted by Defendant in its
 5
     advertising are illusory and incorrect.
 6
            32.     Furthermore, Cree ran several internet and television ads which make various claims
 7
     regarding the longevity of the bulbs, especially as they relate to the lifetime of the Cree bulbs in
 8
     comparison to incandescent bulbs. For instance, one ad features an actor who metaphorically buries
 9
     an incandescent bulb – set into a tiny bulb-shaped coffin – to emphasize that the new Cree bulb
10
     heralds the death knell of the incandescent bulb2. Still other television and internet ads, featuring the
11
     same actor, make other claims about Cree’s superior lifetime and performance in comparison to
12
     incandescent bulbs.3 These advertisements were part of Cree’s pervasive marketing efforts and were
13
     viewed by Plaintiff and members of the class.
14
            33.     Through the advertisements described above and others, Cree represented, directly or
15
     indirectly, expressly or by implication, that the LED Lightbulbs would last for specified periods or
16
     lifespans. These representations are false. The Lightbulbs do not in fact last for the warranted time
17
     or lifespan.
18
                                         Online Customer Complaints
19
            34.     Evidencing the impact of Cree’s plan and scheme, numerous Cree customers from
20
     multiple states have lodged complaints online. Consumers regularly complain that they were lured
21
     by Cree’s representations of the lifespan of the LED Lightbulbs but the Lightbulbs failed well before
22
     the promised time frame.
23

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     2
25    See “Eulogy”, at https://www.ispot.tv/ad/7o4P/cree-bulbs-eulogy (last viewed 4/30/18);
     3
      See, e.g., “Obsolete”, at https://www.ispot.tv/ad/7Km3/cree-bulbs-the-room-of-enlightenment-
26   obsolete-ft-lance-reddick (last viewed 4/30/18); and “What Caboodle Actually Means”, at
     https://www.ispot.tv/ad/AEuk/cree-led-bulbs-what-caboodle-actually-means-feat-lance-reddick (last
27
     viewed 4/30/18); and “Child” at https://www.youtube.com/watch?v=YT8Lhb0_y-0 (last viewed
28   4/30/18); and “1879” at https://www.youtube.com/watch?v=LPn8EodTjQA (last viewed 4/30/18).

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 1          35.    Set forth below is a small sample of customer complaints made on the Internet
 2   regarding Defendant’s fraudulent scheme:
 3                Has anyone else had issues with the Cree 60 watt equivalent soft white bulbs
                   that home depot sells? Out of the 1st four pack I bought, 1 went bad in about 3
 4
                   months. I got 15 more from Duke energy at reduced prices and 3 of them have
 5                 gone bad. Two I have yet to open so out of the 17 used, 4 have gone bad. That
                   a 24% failure rate on a 10 year warranty bulb in a matter of months.
 6                 …
 7                 Most have gone bad with reduced output and some flash at reduced output.
                   One was flashing and I actually her it pop inside and it went dark. It's
 8                 definitely the electronics as all the LEDs still worked. These are all in open
                   bathroom fixtures by the way.4
 9
10                CREE has really, really stepped down quality. I bought 2 CREE daylight LED
                   bulbs and two months after putting them in the rubbery coating they had on on
11                 the plastic globe around the diotes started to cra
12
                  Man, I was so happy with these things...up until they started going out. I
13                 bought a bunch of these (qty. 10) less than 2-3 months ago. So far 4 of them
                   have burnt out already. They start flickering and with a pop or a fizzle, they
14
                   are                                                                      gone.
15
                   I have since switched over to Philips in hopes that they will last longer.
16

17                 What sucks is the warranty for these is such that you have to have the original
                   boxes, a store receipt, and pay to ship them to them for review when they go
18                 out. Who keeps the packaging? Especially when they boast a crazy long life
                   warranty. Guess I should have known, too good to be true right?5
19

20                Great at first but both ones I bought started strobing after only a year and had
                   to get rid of them. Not anywhere hear the rated life I expected.6
21

22                Was a beautiful light for about 3 weeks, after which point it burnt out. I've
                   never had a bulb in a simple desk lamp burn out so quickly.7
23

24
     4
25     http://www.dslreports.com/forum/r29858942-Rant-CREE-LED-Bulbs-going-bad
     5
       https://www.amazon.com/gp/customer-
26   reviews/R3NMC4TJ8AAE3U/ref=cm_cr_getr_d_rvw_ttl?ie=UTF8&ASIN=B00BXFP0SS
     6
       https://www.amazon.com/gp/customer-
27
     reviews/R29EY7QY334JCL/ref=cm_cr_arp_d_rvw_ttl?ie=UTF8&ASIN=B00BXFP0SS
     7
28     https://www.amazon.com/gp/customer-
     reviews/RTB8E4XK8T1HV/ref=cm_cr_arp_d_rvw_ttl?ie=UTF8&ASIN=B00BXFP0SS
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 1                  I bought 7 of the BR30 lamps 5/24/15 and already 3 of them have failed.
                     Sending the lamps to Cree rather than Home Depot (who was the only re-
 2
                     seller of the lamp) seems designed to deter anyone from using the warranty. I
 3                   purchased 6 GE reveal branding LED BR30s at the same time and not one has
                     failed. I have a 2700sq/ft home with all LEDs lamps from several other brands
 4                   (including walmart store brand level). So far only these CREE branded bulbs
 5                   have failed. I have very little faith that the remainder of the bulbs will last
                     much longer. Very disappointing.8
 6

 7                                    INDIVIDUAL PLAINTIFF FACTS

 8           36.     Plaintiff Jeff Young is a resident of Geurneville, California who purchased three 100

 9   Watt Standard A-Type bulbs on or around April of 2015 from WalMart. He paid approximately $15-

10   20 for each bulb. Prior to purchasing the bulbs, Mr. Young reviewed the representations on the label

11   which compared the Cree bulbs to other LED and non-LED light bulbs. Those representations

12   included, but are not necessarily limited to: representations that he would save upwards of $100 per

13   bulb over the life of the bulb; representations that the bulb would perform better than other less-

14   expensive LED and non-LED bulbs; representations that the bulbs were guaranteed and/or warranted

15   for performance.

16           37.     In addition, Mr. Young viewed some internet and television advertisements by Cree

17   prior to purchasing that contained representations that the bulbs would last up to 25 times longer

18   than incandescent bulbs and use a fraction of the energy of incandescent bulbs. Mr. Young relied on

19   these representations, and in doing so decided to purchase the Cree LED bulbs. Were it not for the

20   marketing representations made by Defendant that he relied upon, Mr. Young would not have

21   bought the Cree LED bulbs, or would not have paid a price premium for him. Within months, all

22   three bulbs burned out even though Mr. Young used them according to the instructions. Mr. Young

23   attempted to contact Cree to request replacement but was unsuccessful in contacting Cree through

24   their website. Mr. Young also considered returning the bulbs to Wal-Mart but was told by Wal-Mart

25   that it was too late to return them to the store.

26                                     CLASS ACTION ALLEGATIONS

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         https://www.facebook.com/atka1971/posts/10156193064939672:0
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 1          38.      Plaintiff brings this suit as a class action on behalf of himself and all other similarly
 2   situated Cree customers (the “Class”) pursuant to Fed.R.Civ.P.23. Plaintiff seeks to represent the
 3   following Class:
 4
                     All persons in California who purchased the LED Lightbulbs during
 5
                     the applicable limitations period. Excluded from the Class are (a) any
 6                   Judge or Magistrate presiding over this action and members of their
                     families; (b) the Defendant and its subsidiaries and affiliates; and (c)
 7                   all persons who properly execute and file a timely request for
 8                   exclusion from the Class (the “Class”).

 9          39.      Plaintiff reserves the right to re-define the Class (hereinafter referred to as the

10   “Class,” unless otherwise specified) prior to moving for class certification.

11          40.      The exact number of Class members is unknown as such information is in the

12   exclusive control of Defendant. Plaintiff, however, believes that the Class encompasses thousands of

13   individuals who are geographically dispersed throughout California. Therefore, the number of

14   persons who are members of the Class described above are so numerous that joinder of all members

15   in one action is impracticable.

16          41.      Questions of law and fact that are common to the entire Class predominate over

17   individual questions because the actions of Defendant’s complained of herein were generally

18   applicable to the entire Class. These legal and factual questions include, but are not limited to:

19                a. The nature, scope and operations of Defendant’s wrongful practices;

20                b. Whether Defendant marketed, designed, manufactured and sold LED lights

21                   into the stream of commerce which do not last as long as their represented

22                   and/or warranted life span and do not provide the promised costs savings;

23                c. Whether the LED lights prematurely fail before their represented and/or

24                   warranted life span

25                d. Whether the LED lights are capable of and provide the costs savings promised

26                   and represented by Defendants over the represented and warranted life span

27                   for the products;

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 1        e. Whether Defendant knew and failed to disclose that the LED lights were not
 2           durable and long lasting as they represented, promised and warranted and
 3           instead would fail well before their projected life span;
 4        f. Whether Defendant knew and failed to disclose that Led lights were not
 5           durable and long lasting as they represented, promised and warranted , and as
 6           such, the consumer would not achieve or realize the promised cost savings
 7           over the warranted life span for LED lights;
 8        g. Whether Defendant engaged in unconscionable, deceptive, misleading and/or
 9           fraudulent conduct and/or practices with respect to the sale of the LED lights
10           or processing and handling of warranty claims ;
11        h. Whether Defendant misrepresented, omitted or concealed information
12           regarding the characteristics, quality, serviceability or longevity of the LED
13           Lights;
14        i. Whether Defendant’s marketing of the LED lights was false, deceptive, and
15           misleading to a reasonable consumer:
16        j. Whether Defendant’s conduct violated California law and whether based on
17           the substantial connection between the wrongful conduct in question and
18           Defendant’s operations in California, whether such law can be applied to the
19           claims of all Class Members;
20        k. Whether Defendant’s conduct constituted a breach of applicable warranties
21           and/or gives rise to claims in assumpsit;
22        l. Whether,    as   a   result   of   Defendant’s    actions,   omissions    and/or
23           misrepresentations of material facts related to the LED Lightbulbs, Plaintiff
24           and members of the Class have suffered an ascertainable loss of monies and/or
25           property and/or value;
26        m. Whether Plaintiff and the Class members paid a price premium for the Cree
27           LED Lightbulbs that they would not have but for the false marketing
28           representations by Defendant.

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 1                n. Whether Plaintiff and Class members are entitled to monetary damages and/or
 2                   other remedies and, if so, the nature of any such relief.
 3          42.      Plaintiff’s claims are typical of the members of the Class because Plaintiff and Class
 4   members were injured by the same wrongful practices. Plaintiff’s claims arise from the same
 5   practices and course of conduct that gives rise to the claims of the Class members, and are based on
 6   the same legal theories. Plaintiff has no interests that are contrary to or in conflict with those of the
 7   Class he seeks to represent.
 8          43.      Questions of law or fact common to Class members predominate. A class action is
 9   superior to other available methods for the fair and efficient adjudication of this lawsuit, because
10   individual litigation of the claims of all Class members is economically unfeasible and procedurally
11   impracticable. While the Class members’ aggregate damages are likely to be in the millions of
12   dollars, the individual damages incurred by each Class member are, as a general matter, too small to
13   warrant the expense of individual suits. The likelihood of individual Class members prosecuting
14   separate individual claims is remote, and even if every Class member could afford individual
15   litigation, the court system would be unduly burdened by the individual litigation of such cases.
16   Individualized litigation would also present the potential for varying, inconsistent, or contradictory
17   judgments and would magnify the delay and expense to all parties and to the court system resulting
18   from multiple trials on the same factual issues. Plaintiff knows of no difficulty to be encountered in
19   the management of this action that would preclude its maintenance as a class action. Certification of
20   the Class under Rule 23(b)(3) is proper.
21          44.      Relief concerning Plaintiff’s rights under the laws herein alleged and with respect to
22   the Class would be proper. Defendant has acted or refused to act on grounds generally applicable to
23   the Class, thereby making appropriate final injunctive relief or corresponding declaratory relief with
24   regard to Class members as a whole and certification of the Class under Rule 23(b)(2) proper.
25                             TOLLING OF STATUTES OF LIMITATIONS
26          45.      Discovery Rule: Plaintiff’s and class members’ claims accrued upon discovery that
27   the LED bulbs did not have the useful life advertised by Defendant. While Defendant knew, and
28

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 1   concealed, these facts, Plaintiffs and class members could not and did not discover these facts
 2   through reasonable diligent investigation until after they experienced the product’s failure.
 3              46.   Active Concealment Tolling: Any statutes of limitations are tolled by Defendant’s
 4   knowing and active concealment of the facts set forth above. Defendant kept Plaintiff and all class
 5   members ignorant of vital information essential to the pursuit of their claim, without any fault or
 6   lack of diligence on the part of Plaintiff. The details of Defendant’s efforts to conceal its above-
 7   described unlawful conduct are in its possession, custody, and control, to the exclusion of Plaintiff
 8   and class members, and await discovery. Plaintiff could not have reasonably discovered these facts,
 9   nor that Defendant failed to disclose material facts concerning its performance
10              47.   Estoppel: Defendant is and was under a continuous duty to disclose to Plaintiffs and
11   all class members the true character, quality, and nature of the product. At all relevant times, and
12   continuing to this day, Defendant knowingly, affirmatively, and actively concealed the true
13   character, quality, and nature of the products. The details of Defendant’s efforts to conceal its above-
14   described unlawful conduct are in its possession, custody, and control, to the exclusion of Plaintiff
15   and class members, and await discovery. Plaintiff reasonably relied on Defendant’s active
16   concealment. Based on the foregoing, Defendant is estopped from relying on any statutes of
17   limitation in defense of this action.
18              48.   Equitable Tolling: Defendant took active steps to conceal and misrepresent material
19   facts relating to the products’ performance. The details of Defendant’s efforts are in its possession,
20   custody, and control, to the exclusion of Plaintiff and class members, and await discovery. When
21   Plaintiff learned about this material information, they exercised due diligence by thoroughly
22   investigating the situation, retaining counsel, and pursuing their claims. Should such tolling be
23   necessary, therefore, all applicable statutes of limitation are tolled under the doctrine of equitable
24   tolling.
25                                                 COUNT I
26     VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW, BUSINESS AND
27                                  PROFESSIONS CODE § 17200, et seq.
28

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 1           49.     Plaintiff re-alleges and incorporates by reference the allegations contained in all
 2   preceding paragraphs of this Complaint as though set forth fully herein.
 3           50.     Business & Professions Code § 17200, et seq. prohibits acts of “unfair competition,”
 4   which is defined by Business & Professions Code § 17200 as including any “any unlawful, unfair or
 5   fraudulent business act or practice . . . .”
 6           51.     Defendant has engaged in unfair competition and unfair, unlawful or fraudulent
 7   business practices by the conduct, statements, and omissions described above by (1) making material
 8   representations about the quality, characteristics, reliability, durability, longevity and benefits of the
 9   LED Lightbulbs such as set forth herein, upon which Plaintiff was exposed to and reasonably relied
10   as they were a substantial factor in his purchase decision, and/or (2) omitting the material facts about
11   the actual lifespan of the LED Lightbulbs upon which Plaintiff would have relied had such facts
12   been timely and adequately disclosed.
13           52.     Defendant’s representations set forth above regarding the qualities, reliability,
14   durability and lifespan of the LED Lightbulbs are false.
15           53.     Defendant concealed from Plaintiff and Class members the material facts that the
16   LED Lightbulbs would not actually last for the period or lifespan represented and that the Plaintiff
17   and Class members would not realize the promised cost savings.
18           54.     Defendant should have disclosed this information because it was in a superior
19   position to know the true facts related to the LED Lightbulbs, was aware of the nature, qualities,
20   reliability, durabaility and lifespan of the LED Lightbulbs at the time it sold the Lightbulbs to
21   consumers, and Plaintiff and Class members could not reasonably be expected to learn or discover
22   the true facts related to the LED Lightbulbs until actual failure.
23           55.     The omissions and acts of concealment by Defendant pertained to information
24   material to Plaintiff and Class members and would have been likely to deceive them based on
25   reasonable consumers’ expectations and assumptions as to the lifespan of the LED Lightbulbs. Facts
26   that indisputably pertain to the lifespan of the Lightbulbs—that they were specifically represented to
27   last for a certain period of time-- are presumptively material to the reasonable consumer. An
28   inference of reliance on such facts thus exists as a reasonable person would attach importance or

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 1   significance, in determining whether to purchase the LED Lightbulbs at the prices they did, to the
 2   lifespan of the Lightbulbs. Had Defendant fully and adequately disclosed that its representations
 3   regarding the lifespan of the Lightbulbs were false or unsubstantiated, Plaintiff and the Class would
 4   not have purchased the LED Lightbulbs, or in the alternative would have paid less for.
 5          56.     These acts and practices have also deceived Plaintiff and are likely to deceive persons
 6   targeted by such statements and omissions. In misrepresenting and failing to disclose material
 7   information regarding the lifespan of the LED Lightbulbs from Plaintiff and Class members,
 8   Defendant breached its duties to disclose these facts, violated the UCL, and caused injuries to
 9   Plaintiff and Class members. The injuries suffered by Plaintiff and Class members are also greatly
10   outweighed by any potential countervailing benefit to consumers or to competition. Nor are they
11   injuries that Plaintiff and Class members should or could have reasonably avoided.
12          57.     Plaintiff seeks to enjoin further unlawful, unfair and/or fraudulent acts or practices by
13   Defendant, to obtain restitutionary disgorgement of all monies and revenues generated as a result of
14   such practices, and all other relief allowed under Cal. Bus. & Prof. Code § 17200.
15                                                COUNT II
16      VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW, BUSINESS AND
17                                 PROFESSIONS CODE § 17500, et seq.
18          58.     Plaintiff re-alleges and incorporates by reference the allegations contained in all
19   preceding paragraphs of this Complaint as though set forth fully herein.
20          59.     Defendant does business throughout the United States including within California.
21          60.     The Defendant is a “person” within the meaning of Civil Code §§ 1761(c) and 1770,
22   and have provided “goods” within the meaning of Civil Code §§ 1761(b) and 1770.
23          61.     Plaintiff and members of the proposed class are “consumers” within the meaning of
24   Civil Code §§ 1761(d) and 1770
25          62.     In violation of California Business & Professions Code § 17500, et seq., Defendant
26   has disseminated or caused to be disseminated deceptive advertising misrepresentations, omissions
27   and practices, including the statements referenced herein. These statements are actionable violations
28

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 1   of § 17500 in that Defendant expressly states that the LED Lightbulbs have attributes which they do
 2   not possess.
 3            63.   Defendant’s advertising misrepresentations, omissions, and practices made in
 4   connection with the sale of the LED Lightbulbs are unfair, deceptive and/or misleading within the
 5   meaning of California Business & Professions Code § 17500, et seq. These representations are
 6   likely to deceive reasonable consumers.
 7            64.   In making and disseminating the statements alleged herein, Defendant knew or should
 8   have known that the statements were and are misleading or likely to mislead for the reasons set forth
 9   above.
10            65.   Had the Defendant not misrepresented and concealed material facts about the LED
11   lights, Plaintiff, members of the proposed class, and reasonable consumers would not have
12   purchased or would have paid less for the LED lights.
13

14            66.   As detailed above, Plaintiff and the Class suffered injuries in fact and losses of money
15   as a result of Defendant’s unfair and deceptive acts and practices, which violate § 17500, et seq.
16            67.   Pursuant to California Business & Professions Code § 17535, Plaintiff and members
17   of the Class seek, and are entitled to: an order enjoining Defendant from continuing to make false
18   and misleading statements concerning the LED Lightbulbs; restitution and disgorgement of any and
19   all excessive amounts paid to Defendant or its agents; equitable relief pursuant to Cal. Code of Civil
20   Procedure § 384; pre- and post-judgment interest at the highest rate allowable by law; and payment
21   of attorney’s fees and costs pursuant to, inter alia, Cal. Code of Civ. Proc. § 1021.5, the common
22   fund and private attorney general doctrines.
23            68.   As a result of Defendant’s numerous violations of the false advertising statute,
24   Plaintiff and Class members are entitled to equitable relief as the Court deems appropriate.
25                                                  COUNT III
26                  VIOLATIONS OF THE CONSUMER LEGAL REMEDIES ACT,
27                              CALIFORNIA CIVIL CODE § 1750 et seq.
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 1           69.       Plaintiff re-alleges and incorporated by reference the allegations contained in all
 2   preceding paragraphs of this Complaint as though set forth fully herein.
 3           70.       This cause of action is brought pursuant to the California Consumers Legal Remedies
 4   Act (“CLRA”), Civil Code section 1750, et seq. Plaintiff brings this action on his own behalf and on
 5   behalf of the Class members, all of whom are similarly situated consumers within the meaning of
 6   Civil Code section 1781.
 7           71.       The acts and practices described in this Complaint were intended to result in the sale
 8   of goods, specifically the LED Lightbulbs, in consumer transactions. Defendant has violated, and
 9   continues to violate, the CLRA, Civil Code section 1770, including but not limited to subdivisions
10   (a)(5), (a)(7), (a)(9), and (a)(16) by:
11                    Representing that the LED Lightbulbs have characteristics or benefits, as
12                     described herein, which the Lightbulbs do not have, or omitting material facts
13                     to the contrary.
14                    Representing that the LED Lightbulbs are of a particular standard or quality,
15                     when the Lightbulbs are of another, or omitting material facts to the contrary.
16                    Advertising the LED Lightbulbs as having the potential to bring about certain
17                     results with the intent to sell the Lightbulbs without actually having those
18                     capabilities.
19                    Representing that the LED Lightbulbs were supplied in accordance with
20                     previous representations, when they were not, or omitting material facts to the
21                     contrary.
22           72.       Defendant made material representations about the quality, characteristics, reliability
23   and benefits of the LED Lightbulbs such as referenced herein, upon which Plaintiff was exposed to
24   and reasonably relied as they were a substantial factor in his purchase decision, and/or omitted the
25   material facts about the actual lifespan of the LED Lightbulbs upon which Plaintiff would have
26   relied had such facts been timely and adequately disclosed. Defendant’s representations set forth
27   above regarding the qualities and lifespan of the LED Lightbulbs were false when made. Defendant
28

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 1   concealed from Plaintiff and Class members the material facts that the LED Lightbulbs would not
 2   actually last for the promised length of time.
 3          73.     The omissions and acts of concealment by Defendant pertained to information
 4   material to Plaintiff and Class members in that it would have been likely to deceive them based on
 5   reasonable consumers’ expectations and assumptions. These facts are or would be presumptively
 6   material to the reasonable consumer. Had Defendant fully and adequately disclosed true qualities of
 7   the LED Lightbulbs, Plaintiff and Class Members would not have purchased the Lightbulbs or paid
 8   the prices that they did for them.
 9          74.     Plaintiff and the Class members have thus suffered damage as a result of these
10   violations.
11          75.     Defendant concealed the true qualities and lifespan of the LED Lightbulbs even
12   though it was or reasonably should have been aware of this information.
13          76.     Defendant’s misrepresentations and omissions of material fact described in the
14   preceding paragraphs were at a minimum made without the use of reasonable procedures adopted to
15   avoid such errors.
16          77.     Defendant, directly or indirectly, has engaged in substantially similar conduct with
17   respect to Plaintiff and each member of the Class.
18          78.     Unless Defendant is enjoined from engaging in such wrongful actions and conduct in
19   the future, members of the consuming public will be further damaged by Defendant’s conduct.
20          79.     Plaintiff and the Class are entitled to equitable relief on behalf of the members of the
21   Class in the form of an order, pursuant to Civil Code section 1780, subdivisions (a)(2)-(5),
22   prohibiting Defendant from continuing to engage in the above-described violations of the CLRA, to
23   provide restitution or actual damages in the form of all monies paid for the inflated sale price of the
24   LED Lightbulbs, and any other relief the court deems proper. Plaintiff further seeks reasonable
25   attorneys’ fees under Civil Code section 1780(e).
26          80.     Pursuant to California Civil Code section 1782, Plaintiff has sent a demand letter to
27   Defendant via registered mail, and defendant has not responded. Plaintiff will amend the complaint
28   once defendant has responded to the demand letter.

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 1                                                 COUNT IV
 2                  FRAUDULENT MISREPRESENTATION AND CONCEALMENT
 3          81.     Plaintiff re-alleges and incorporates by reference the allegations contained in all
 4   preceding paragraphs of this Complaint as though set forth fully herein.
 5          82.     Defendant, either directly and/or through agents, made material misrepresentations
 6   and concealed material information concerning the qualities, characteristics, reliability, durability,
 7   longevity, benefits and lifespan of the LED Lightbulbs from its customers as set forth above.
 8          83.     At the times Defendant misrepresented and concealed these material facts, Plaintiff
 9   and the members of the Class had no knowledge of the material facts that Defendant misrepresented
10   and failed to disclose.
11          84.     At all times relevant, Defendant had superior knowledge regarding the qualities,
12   characteristics, reliability, durability, longevity, benefits and lifespan of the LED Lightbulbs than did
13   Plaintiff and Class members.
14          85.     By misrepresenting and failing to disclose material facts, Defendant intended that the
15   Plaintiff and Class members would rely upon such failures to disclose material facts.
16          86.     Defendant owed a duty to Plaintiff and Class members to disclose material facts
17   related to their purchase of the LED lights, including but not limited to the foregoing facts that
18   concerned the qualities, characteristics, reliability, durability, longevity, benefits and lifespan of the
19   LED Lightbulbs.
20          87.     Plaintiff and all Class members did, in fact, rely upon such Defendant’s failure to
21   disclose all material facts and, as a consequence, became customers of Defendant and purchased the
22   LED lightbulbs. Plaintiff and Class members relied to their detriment on Defendant’s omissions of
23   material facts and upon representations delivered through Defendant’s marketing materials,
24   including its website and advertisements. Had Defendant disclosed to customers that its
25   representations regarding the qualities, characteristics, reliability, durability, longevity, benefits and
26   lifespan of the Lightbulbs were false or were not substantiated at the time that were made, Plaintiff
27   and Class members would not have purchased the LED Lightbulbs from Defendant, or would have
28   paid less for the LED lights.

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 1          88.     As a direct and proximate result of Defendant’s deceptive, fraudulent, and unfair
 2   practices, Plaintiff and Class members have suffered injury in fact and/or actual damages in an
 3   amount to be determined at trial.
 4          89.     Plaintiff, on behalf of himself and all others similarly situated, demands judgment
 5   against Defendant for damages and declaratory relief.
 6          //
 7          //
 8          //
 9                                                    COUNT V
10                                         UNJUST ENRICHMENT
11          90.     Plaintiff re-alleges and incorporates by reference the allegations contained in all
12   preceding paragraphs of this Complaint as though set forth fully herein.
13          91.     As Plaintiff and the Class show just grounds for recovering money to pay for benefits
14   Defendant received from them, they have a right to restitution at law through an action derived from
15   the common-law writ of assumpsit by implying a contract at law, or a quasi-contract as an
16   alternative to a claim for breach of contract.
17          92.     Plaintiff and members of the Class conferred a benefit upon Defendant by purchasing
18   the LED Lightbulbs from Defendant.
19          93.     Defendant had knowledge that this benefit was conferred upon it.
20          94.     Defendant, having received such benefits, is required to make restitution as the
21   circumstances here are such that, as between the two, it is unjust for Defendant to retain such monies
22   based on the illegal conduct described above. Such money or property belongs in good conscience to
23   Plaintiff and the Class members and can be traced to funds or property in Defendant’s possession.
24   Plaintiff and Class members have unjustly enriched Defendant through payments and the resulting
25   profits enjoyed by Defendant as a direct result of such payments. Plaintiff’s and Class members’
26   detriment and Defendant’s enrichment were related to and flowed from the conduct challenged in
27   this Complaint.
28

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 1              95.    Defendant appreciated, accepted, and retained the non-gratuitous benefits conferred
 2   by Plaintiffs and the proposed Class members, who, without knowledge that the LED Lights would
 3   not perform as advertised, paid a higher price for the product than it was worth. Defendant also
 4   received monies for the LED lights that Plaintiff and the proposed Class members would not have
 5   otherwise purchased.
 6              96.    It would be inequitable and unjust for Defendant to retain these wrongfully obtained
 7   profits.
 8              97.    Defendant’s retention of these wrongfully obtained profits would violate the
 9   fundamental principles of justice, equity, and good conscience.
10              98.    An entity that has been unjustly enriched at the expense of another is required to
11   make restitution to the other. Under common law principles recognized in claims of common counts,
12   assumpsit, and quasi-contract, as well as principles of unjust enrichment, under the circumstances
13   alleged herein it would be inequitable for Defendant to retain such benefits without paying
14   restitution or damages therefor. Defendant should not be permitted to retain the benefits conferred
15   via payments to be received from and/or paid by Plaintiff and Class members as a result of such
16   transactions, and other remedies and claims may not permit them to obtain such relief, leaving them
17   without an adequate remedy at law.
18                                                 COUNT VI
19                         BREACH OF EXPRESS AND IMPLIED WARRANTIES
20              99.    Plaintiff incorporates by reference each and every prior and subsequent allegation of
21   this Complaint as if fully restated herein.
22              100.   Defendant sold the products in their regular course of business. Plaintiff and Class
23   members purchased the LED products.
24              101.   The Products are “consumer products” within the meaning of the Magnuson- Moss
25   Warranty Act, 15 U.S.C. § 2301(1) and California law, respectively. The products costs more than
26   five dollars.
27              102.   Plaintiffs and Class members are “consumers” and “buyers” within the meaning of
28   the Magnuson-Moss Act, 15 U.S.C. § 2301(3) and California law, respectively.

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 1          103.    Defendant is a “supplier” and “warrantor” within the meaning of the
 2   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4) – (5). Defendant is also a “manufacturer” and
 3   “seller” within the meaning of California law, respectively.
 4          104.    Defendant made promises and representations in an express warranty provided to all
 5   consumers, which became the basis of the bargain between Plaintiff, Class members and Defendant.
 6          105.    Defendant’s written affirmations of fact, promises and/or descriptions as alleged are
 7   each a “written warranty.” The affirmations of fact, promises and/or descriptions constitute a
 8   “written warranty” within the meaning of the Magnuson-Moss Act, 15 U.S.C. §2301(6).
 9          106.    By placing such products into the stream of commerce, by operation of law including
10   the Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301 et seq., and the Uniform Commercial Code §
11   2-314 and other applicable state laws, including the Song-Beverly Act, Defendants also impliedly
12   warranted to Plaintiff and Class members that the LED lightbulbs were of merchantable quality (i.e.,
13   a product of a high enough quality to make it fit for sale, usable for the purpose it was made, of
14   average worth in the marketplace, or not broken, unworkable, contaminated or flawed or containing
15   a defect affecting the safety of the product), would pass without objection in the trade or business,
16   and were free from material defects, and reasonably fit for the use for which they were intended.
17          107.    Defendant breached all applicable warranties because the products suffer from a
18   latent and/or inherent defect that causes it to fail, rendering it unfit for its intended use and purpose.
19   This defect substantially impairs the use, value and safety of the Product.
20          108.    The latent and/or inherent defect at issue herein existed when the LED blulbs left
21   Defendants’ possession or control and was sold to Plaintiff and the Class members. The defect was
22   undiscoverable to Plaintiff and the Class members at the time of purchase.
23          109.    All conditions precedent to seeking liability under this claim for breach of
24   express and implied warranty have been performed by or on behalf of Plaintiff and others in terms of
25   paying for the goods at issue. Defendant, having been placed on reasonable notice of the defect in
26   the Products and breach of the warranties, have had an opportunity for years to cure the defect for
27   Plaintiff and all Class members, but has failed to do so.
28

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 1          110.      Defendant was on notice of the problems with the LED bulbs based on the complaints
 2   it received directly from Plaintiff and Class members, and from the plethora of public complaints.
 3          111.      Defendant breached their express and implied warranties, as the Product did not
 4   contain the properties Defendant represented.
 5          112.      Defendant’s breaches of warranty have caused Plaintiffs and Class members to suffer
 6   injuries, paying for defective products, and entering into transactions they would not have entered
 7   into for the consideration paid.      As a direct and proximate result of Defendant’s breaches of
 8   warranty, Plaintiff and Class members have suffered damages and continue to suffer damages,
 9   including economic damages in terms of the cost of the Product and the cost of efforts to mitigate the
10   damages caused by same.
11          113.      As a result of the breach of these warranties, Plaintiffs and Class members are entitled
12   to legal and equitable relief including damages, costs, attorneys’ fees, rescission, and/or other relief
13   as deemed appropriate, for an amount to compensate them for not receiving the benefit of their
14   bargain.
15                                          PRAYER FOR RELIEF
16          WHEREFORE, Plaintiff, on behalf of himself and members of the Class, respectfully
17   requests that this Court:
18          114.      Determine that the claims alleged herein may be maintained as a class action under
19   Rule 23 of the Federal Rules of Civil Procedure, and issue an order certifying one or more Classes as
20   defined above;
21          115.      Appoint Plaintiff as the representative of the Class and his counsel as Class counsel;
22          116.      Award all actual, general, special, incidental, statutory, injunctive, and consequential
23   damages to which Plaintiff and Class members are entitled;
24          117.      Award pre-judgment and post-judgment interest on such monetary relief;
25          118.      Award reasonable attorneys’ fees and costs; and
26          119.      Grant such further relief that this Court deems appropriate.
27

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 1                                      DEMAND FOR JURY TRIAL
 2          Plaintiff respectfully demands a trial by jury on all issues within the instant action so triable.
 3

 4   Dated April 30, 2018                          Respectfully submitted,
 5
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 6
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